Case 4:07-cr-00247-ALM-KPJ           Document 509         Filed 12/04/13      Page 1 of 2 PageID #:
                                            1908



                              United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:07cr247
                                                  §            (Judge Crone)
 BRANDON HARRISON (3)                             §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 8, 2013, to determine whether Defendant violated his supervised

 release.

        On November 24, 2008, Defendant was sentenced by the Honorable Marcia A. Crone to sixty

 (60) months followed by five (5) years of supervised release. Pursuant to an Order Regarding Motion

 for Sentence Reduction, the sentence was reduced on November 29, 2011, to forty-two (42) months'

 imprisonment. On February 3, 2012, Defendant completed his period of imprisonment and began

 service of his supervised term.

        On September 30, 2013, the U.S. Probation Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated the following mandatory

 condition: the defendant shall refrain from any unlawful use of a controlled substance. The petition

 also asserted the Defendant violated the following standard condition: the defendants shall refrain

 from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

 narcotic or other controlled substance, or any paraphernalia related to such substances, except as

 prescribed by a physician.

        The petition alleges that Defendant committed the following acts: On February 8, February
    Case 4:07-cr-00247-ALM-KPJ           Document 509          Filed 12/04/13      Page 2 of 2 PageID #:
                                                1909


     27, March 21, April 10, August 8, and September 10, 2013, Defendant submitted urine specimens

     which tested positive for marijuana.

            Prior to the Government putting on its case, Defendant entered a plea of true to the violations.

     The Court recommends that Defendant’s supervised release be revoked.

                                            RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons, Seagoville Unit.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

           SIGNED this 3rd day of December, 2013.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES MAGISTRATE JUDGE
